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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA                               Jan 28, 2022
                               Case Number: 19-cr-20450-SCOLA
                                                                                                  Miami
  UNITED STATES OF AMERICA,

                        Plaintiff,
                 v.

  ALEX NAIN SAAB MORAN,

                    Defendant.
  _______________________________/

                                        MOTION TO SEAL

         The United States of America, by and through its undersigned Assistant United States

  Attorney, respectfully requests that the Motion for the Production of Records from the Zoom Initial

  Appearance of the Defendant, Alex Nain Moran Saab, on October 18, 2021, the proposed order,

  and any resulting orders be SEALED for one year or until further order of this Court, excepting

  the United States Attorney=s Office and any relevant law enforcement agency, which may obtain

  copies of the motion and the resulting order, for the reasons that the information requested in the

  proposed order relates to an ongoing criminal investigation and the integrity of an ongoing

  investigation may be compromised should knowledge of the underlying motion and resulting order

  become public and evidence may be destroyed.       The Assistant United States Attorney is prepared

  to provide further information in camera should the Court so require.

  Date: __________                                      Respectfully submitted,

                                                        JUAN ANTONIO GONZALEZ
                                                        UNITED STATES ATTORNEY

                                               By:
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